195 F.2d 530
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.BOYD-WELSH, Inc.
    No. 14551.
    United States Court of Appeals Eighth Circuit.
    March 5, 1952.
    
      David P. Findling, Associate General Counsel, National Labor Relations Board, and A. Norman Somers, Asst. General Counsel, National Labor Relations Board, Washington, D.C., for petitioner.
      Martin, Peper &amp; Martin, St. Louis, Mo., for respondent.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board enforced, on stipulation filed with Board, and petition for enforcement.
    
    